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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, CITY OF NEW YORK,
STATE OF CONNECTICUT, and STATE OF
VERMONT,
                       Plaintiffs,
            v.
UNITED STATES DEPARTMENT OF HOMELAND
SECURITY; CHAD F. WOLF, in his official capacity as
Acting Secretary of the United States Department of
Homeland Security; UNITED STATES CITIZENSHIP                      CIVIL ACTION NO.
AND IMMIGRATION SERVICES; KENNETH T.                              19 Civ. 07777 (GBD)
CUCCINELLI II, in his official capacity as Senior
Official Performing the Duties of Director of the United
States Citizenship and Immigration Services and of the
Deputy Secretary of United States Department of
Homeland Security; and UNITED STATES OF
AMERICA,
                       Defendants.

MAKE THE ROAD NEW YORK, AFRICAN
SERVICES COMMITTEE, ASIAN AMERICAN
FEDERATION, CATHOLIC CHARITIES
COMMUNITY SERVICES, and CATHOLIC LEGAL
IMMIGRATION NETWORK, INC.,
                      Plaintiffs,
           v.
KEN CUCCINELLI, in his purported official capacity as
Senior Official Performing the Duties of the Director,            CIVIL ACTION NO.
United States Citizenship and Immigration Services;               19 Civ. 07993 (GBD)
UNITED STATES CITIZENSHIP & IMMIGRATION
SERVICES; CHAD F. WOLF, in his purported official
capacity as Acting Secretary of Homeland Security; and
UNITED STATES DEPARTMENT OF HOMELAND
SECURITY,
                       Defendants.



               PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

declaration of Ming-Qi Chu dated October 27, 2020 and accompanying exhibits, and Plaintiffs’

Local Rule 56.1 Statement of Material Facts, Statement of Material Undisputed Facts Pursuant to



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Local Civil Rule 56.1, Plaintiffs the State of New York, City of New York, State of Connecticut,

State of Vermont, Make the Road New York, African Services Committee, Asian American

Federation, Catholic Charities Community Services, and Catholic Legal Immigration Network,

Inc. will move this Court for an order granting partial summary judgment with respect to their

claims for relief under the Federal Vacancies Reform Act, 5 U.S.C. §§ 3345–3348 and the

Administrative Procedure Act, 5 U.S.C. § 706.

 DATED: October 27, 2020                            Respectfully submitted,

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